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                                                       United States District Court
                                                       Central District of California


 UNITED STATES OF AMERICA vs.                                               Docket No.            CR 17-00574-ODW

 Defendant          Shawn Naolu Lee                                         Social Security No. 7         7   0    1
 akas:                                                                      (Last 4 digits)

                                          JUDGMENT AND PROBATION/COMMITMENT ORDER

                                                                                                                   MONTH   DAY   YEAR
              In the presence of the attorney for the government, the defendant appeared in person on this date.    July   23    2018

  COUNSEL                                                           Georgina Wakefield, DFPD
                                                                           (Name of Counsel)

     PLEA           X GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO             NOT
                                                                                                              CONTENDERE         GUILTY
  FINDING  There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
          Count 2:18:545: Importing Wildlife Contrary to Law; 18:2(b): Causing an Act to be Done
JUDGMENT The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/ contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered that:
  COMM    Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to the
  ORDER   custody of the Bureau of Prisons to be imprisoned for a term of:
                    PROBATION on count two of the three-count indictment for a term of three years under
following terms and conditions:


         1. The defendant shall comply with the rules and regulations of the United States Probation Office
            and General Order 05-02, with the exception of Conditions 5, 6, and 14 of that order.
         2. As directed by the probation officer, the defendant shall notify specific persons and organizations
            of specific risks and shall permit the probation officer to confirm the defendant’s compliance with
            such requirement and to make such notifications.



         3. The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall
            submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
            thereafter, not to exceed eight tests per month, as directed by the Probation Officer.

         4.      The defendant shall participate for a period of six months in a home detention program which may
                 include electronic monitoring, GPS, Alcohol Monitoring Unit or automated identification system
                 and shall observe all rules of such program, as directed by the Probation Officer. The defendant shall
                 maintain a residential telephone line without devices and/or services that may interrupt operation
                 of the monitoring equipment.

         5.      The defendant shall pay the costs of Location Monitoring to the contract vendor, not to exceed the
                 sum of $12.00 for each day of participation. The defendant shall provide payment and proof of
                 payment as directed by the Probation Officer.

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         6. The defendant shall perform 40 hours of community service, as directed by the Probation Officer.

         7.      During the period of community supervision, the defendant shall pay the special assessment in
                 accordance with this judgment's orders pertaining to such payment.

         8.      The defendant shall cooperate in the collection of a DNA sample from himself.

    It is ordered that the defendant shall pay to the United States a special assessment of $100, which is due
    immediately.

    Pursuant to Guideline § 5E1.2(a), all fines are waived as the Court finds that the defendant has established
    an inability to pay any fine.

    The defendant agrees to forfeit $15, 370 cash confiscated at the time of his arrest as well as the Asian
    Arowana fish.

         Pursuant to 18 U.S.C. § 3553(a), the Court shall impose a sentence sufficient, but not greater than
         necessary, to comply with the purposes set forth in paragraph (2) of this subsection. The Court, in
         determining the particular sentence to be imposed, shall consider --

    1. The nature and circumstances of the offense and the history and characteristics of the defendant;
    2. The need for the sentence imposed --
         a. To reflect the seriousness of the offense; to promote respect for the law, and to provide
             just punishment for the offense;
         b. To afford adequate deterrence to criminal conduct;
         c. To protect the public from further crimes of the defendant; and
         d. To provide the defendant with needed correctional treatment in the most effective
             manner.
    3. The kinds of sentences available;
    4. The guideline sentencing range;




           In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation
           and Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend
           the period of supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue
           a warrant and revoke supervision for a violation occurring during the supervision period.


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                        July 23, 2018
                        Date                                                         U. S. District Judge

           It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified
           officer.

                                                                                     Clerk, U.S. District Court



                        July 23, 2018                                   By           S. English /s/
                        Filed Date                                                   Deputy Clerk


           The defendant shall comply with the standard conditions that have been adopted by this court (set forth below).

                                         STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                                         While the defendant is on probation or supervised release pursuant to this judgment:
           1.      The defendant shall not commit another Federal, state or                   10.     the defendant shall not associate with any persons engaged
                   local crime;                                                                       in criminal activity, and shall not associate with any person
           2.      the defendant shall not leave the judicial district without the                    convicted of a felony unless granted permission to do so by
                   written permission of the court or probation officer;                              the probation officer;
           3.      the defendant shall report to the probation officer as directed            11.     the defendant shall permit a probation officer to visit him or
                   by the court or probation officer and shall submit a truthful                      her at any time at home or elsewhere and shall permit
                   and complete written report within the first five days of each                     confiscation of any contraband observed in plain view by
                   month;                                                                             the probation officer;
           4.      the defendant shall answer truthfully all inquiries by the                 12.     the defendant shall notify the probation officer within 72
                   probation officer and follow the instructions of the probation                     hours of being arrested or questioned by a law enforcement
                   officer;                                                                           officer;
           5.      the defendant shall support his or her dependents and meet                 13.     the defendant shall not enter into any agreement to act as an
                   other family responsibilities;                                                     informer or a special agent of a law enforcement agency
           6.      the defendant shall work regularly at a lawful occupation                          without the permission of the court;
                   unless excused by the probation officer for schooling,                     14.     as directed by the probation officer, the defendant shall
                   training, or other acceptable reasons;                                             notify third parties of risks that may be occasioned by the
           7.      the defendant shall notify the probation officer at least 10                       defendant’s criminal record or personal history or
                   days prior to any change in residence or employment;                               characteristics, and shall permit the probation officer to
           8.      the defendant shall refrain from excessive use of alcohol and                      make such notifications and to conform the defendant’s
                   shall not purchase, possess, use, distribute, or administer any                    compliance with such notification requirement;
                   narcotic or other controlled substance, or any paraphernalia               15.     the defendant shall, upon release from any period of
                   related to such substances, except as prescribed by a                              custody, report to the probation officer within 72 hours;
                   physician;                                                                 16.     and, for felony cases only: not possess a firearm, destructive
           9.      the defendant shall not frequent places where controlled                           device, or any other dangerous weapon.
                   substances are illegally sold, used, distributed or
                   administered;


                   The defendant will also comply with the following special conditions pursuant to General Order 01-05 (set forth below).




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                   STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

                     The defendant shall pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine
           or restitution is paid in full before the fifteenth (15th) day after the date of the judgment pursuant to 18 U.S.C. §3612(f)(1). Payments
           may be subject to penalties for default and delinquency pursuant to 18 U.S.C. §3612(g). Interest and penalties pertaining to restitution
           , however, are not applicable for offenses completed prior to April 24, 1996.

                    If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant shall pay
           the balance as directed by the United States Attorney’s Office. 18 U.S.C. §3613.

                    The defendant shall notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address
           or residence until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. §3612(b)(1)(F).

                     The defendant shall notify the Court through the Probation Office, and notify the United States Attorney of any material change
           in the defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C.
           §3664(k). The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party
           or the victim, adjust the manner of payment of a fine or restitution-pursuant to 18 U.S.C. §3664(k). See also 18 U.S.C. §3572(d)(3) and
           for probation 18 U.S.C. §3563(a)(7).

                      Payments shall be applied in the following order:

                              1. Special assessments pursuant to 18 U.S.C. §3013;
                              2. Restitution, in this sequence:
                                        Private victims (individual and corporate),
                                        Providers of compensation to private victims,
                                        The United States as victim;
                              3. Fine;
                              4. Community restitution, pursuant to 18 U.S.C. §3663(c); and
                              5. Other penalties and costs.




                                     SPECIAL CONDITIONS FOR PROBATION AND SUPERVISED RELEASE

                    As directed by the Probation Officer, the defendant shall provide to the Probation Officer: (1) a signed release authorizing credit
           report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial
           statement, with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant shall not
           apply for any loan or open any line of credit without prior approval of the Probation Officer.

                   The defendant shall maintain one personal checking account. All of defendant’s income, “monetary gains,” or other pecuniary
           proceeds shall be deposited into this account, which shall be used for payment of all personal expenses. Records of all other bank
           accounts, including any business accounts, shall be disclosed to the Probation Officer upon request.


                    The defendant shall not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500
           without approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                      These conditions are in addition to any other conditions imposed by this judgment.




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                                                                             RETURN

            I have executed the within Judgment and Commitment as follows:
            Defendant delivered on                                                             to
            Defendant noted on appeal on
            Defendant released on
            Mandate issued on
            Defendant’s appeal
            determined on
            Defendant delivered on                                                             to
      at
                  the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                                United States Marshal


                                                                 By
                       Date                                                     Deputy Marshal




                                                                         CERTIFICATE

            I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office,
            and in my legal custody.

                                                                                Clerk, U.S. District Court


                                                                 By
                       Filed Date                                               Deputy Clerk




                                                        FOR U.S. PROBATION OFFICE USE ONLY


           Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the
           term of supervision, and/or (3) modify the conditions of supervision.

                     These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


                     (Signed)
                                Defendant                                                      Date




                                U. S. Probation Officer/Designated Witness                     Date




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